IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF IOWA
WESTERN DIVISION

UNITED STATES OF AMERICA, No. 24-CR-4068

Plaintiff, INDICTMENT

Count 1
21 U.S.C. §.841(a)(1)
21 U.S.C. § 841(b)(1)(A)

Vs.

TODD DOUGLAS BABB, and

ERIKA JO THELEN, 21 U.S.C. § 846
21 U.S.C. § 851
Defendants. Conspiracy to Distribute a

Controlled Substance
(Babb)

21 U.S.C. § 841(a)(1)

21 U.S.C. § 841(b)(1)(B)

21 U.S.C. § 851

Possession with Intent to Distribute

a Controlled Substance
(Babb)

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) Count 2
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) Count 3

) 21 U.S.C. § 841(a)(1)

) 21 U.S.C. § 841(b)(1)(C)
) Possession with Intent to Distribute
) a Controlled Substance
) (Thelen)

The Grand Jury charges:

Count 1
Conspiracy to Distribute a Controlled Substance

Between on or about 2018, and continuing to on or about August 2024, in the
Northern District of Iowa and elsewhere, defendant TODD DOUGLAS BABB, did

knowingly and intentionally combine, conspire, confederate, with persons known

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and unknown to the Grand Jury, to distribute 500 grams or more of a mixture or
substance containing a detectable amount of methamphetamine and 50 grams or
more of actual (pure) methamphetamine, a Schedule II controlled substance.

Before defendant TODD DOUGLAS BABB committed the offense charged in
this Count, he was convicted of the following:

(1) On or about July 17, 2017, defendant was convicted in the Iowa District
Court for Woodbury County, Case No. FECR0938388, of possession with intent
to deliver a controlled substance, a felony drug offense, and a serious drug
felony, for which he served more than 12 months of imprisonment and for

which he was released from serving any term of imprisonment related to that
offense within 15 years of the commencement of the instant offense.

This was in violation of Title 21, United States Code, Sections 841(a)(1),
841(b)(1)(A), 846, and 851.

Count 2
Possession with Intent to Distribute a Controlled Substance

On or about August 7, 2024, in the Northern District of lowa, defendant
TODD DOUGLAS BABB did knowingly and intentionally possess with intent to
distribute a mixture or substance containing 5 grams or more of actual (pure)
methamphetamine, a Schedule II controlled substance.

Before defendant TODD DOUGLAS BABB committed the offense charged in
this Count, he was convicted of the following:

(1) On or about July 17, 2017, defendant was convicted in the Iowa District
Court for Woodbury County, Case No. FECR093833, of possession with intent
to deliver a controlled substance, a felony drug offense, and a serious drug
felony, for which he served more than 12 months of imprisonment and for

which he was released from serving any term of imprisonment related to that
offense within 15 years of the commencement of the instant offense.

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This was in violation of Title 21, United States Code, Sections 841(a)(1),
841(b)(1)(B), and 851.

Count 3
Possession with Intent to Distribute a Controlled Substance

On or about August 7, 2024, in the Northern District of Iowa, defendant
ERIKA JO THELEN did knowingly and intentionally possess with intent to
distribute a mixture or substance containing a detectable amount of
methamphetamine, a Schedule II controlled substance.

This was in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(C).
TIMOTHY T. DUAX A TRUE BILL
United States Aten
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AGrand Jury Foreperson Date

Assistant United States Attorney
PRESENTED IN OPEN COURT
BY THE

FOREMAN OF THE GRAND JURY

And filed 04-14- <0

PAUL DE YOUNG, CLERK

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